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 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                               )       No. 1:05cr00127 OWW
                                                             )
12                          Plaintiff,                       )       STIPULATION AND ORDER TO
                                                             )       CONTINUE CHANGE OF PLEA
13                                                           )       HEARING
                             v.                              )
14                                                           )
     SERAFIN RODRIGUEZ MENDOZA, et al.,                      )
15                                                           )
                            Defendants.                      )
16                                                           )

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            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
21
     counsel, VIRNA L. SANTOS and SHEILA OBERTO, Assistant United States Attorneys for the
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     government, and ANTHONY P. CAPOZZI, attorney for SERAFIN RODRIGUEZ MENDOZA
23
     and ERIC V. KERSTEN, attorney for ROSA LOPEZ MENDOZA, to continue the change of plea
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     hearing for both defendants from September 5, 2006 to a new date of September 25, 2006 at 9:00
25
     a.m.
26
            This continuance is necessary to permit defendants to obtain a significant portion of the
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     estimated restitution prior to the entry of plea, as required the terms of the plea agreement.
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 1   Although the parties have endeavored to finalize the agreements between hearings, due to counsel

 2   unavailability, the requisite payment of partial restitution has yet to be made. The parties expect

 3   that this matter will be resolved by the new requested hearing date. If the matter should not be

 4   resolved additional time is needed by defendants to complete their investigation anticipation of

 5   trial.

 6            All parties stipulate that time shall be excluded for the above purposes until the new

 7   hearing date of September 25, 2006, pursuant to 18 U.S.C. § 3161(h)(8)(A).

 8   IT IS SO STIPULATED,

 9   Dated: September 2, 2006
                                                             /s/ Virna L. Santos
10                                                           VIRNA L. SANTOS
                                                            Assistant U. S. Attorney
11
     Dated: August 31, 2006                                 /s/ Anthony P. Capozzi
12                                                          ANTHONY P. CAPOZZI
                                                            Attorney for Serafin Rodriguez Mendoza
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14   Dated: August 31, 2006                                 /s/ Eric V. Kersten
                                                            ERIC V. KERSTEN
15                                                          Attorney for Rosa Lopez Mendoza

16                                                  ORDER

17            The parties stipulated request to continue the hearing on this matter to September 25, 2006

18   at 9:00 a.m. is hereby GRANTED. Time shall be excluded pursuant to 18 U.S.C. §

19   3161(h)(8)(A) at both parties request to allow for further investigation by defense counsel.

20            IT IS SO ORDERED.

21   IT IS SO ORDERED.

22   Dated: September 2, 2006                           /s/ Oliver W. Wanger
     emm0d6                                        UNITED STATES DISTRICT JUDGE
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